Case 2:04-cV-02254-.]P|\/|-de Document 44 Filed 08/18/05 Page 1 of 2 Page|D 68
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IN THE UNITED STATES DISTRICT COURT l l -' 20
FOR 'I`HE WESTERN DISTRICT OF TENNESSEE

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Albert Rhea and Gary Schoonover,
Plaintiffs,

vs. Civil Action No. 04-2254 MIV

Dollar Tree Stores, Inc., Donna Carlo, JURY DEMANDED

Jim Stephens, and Steve McDonnell,

Defendants.

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ORDER ON PLAINTIFFS’ MOTION FOR EXTENSI()N OF TIME TO FILE
RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

 

This cause came to be on the Plajntiffs’ Motion for Extension of Time to File Response
to Defendants’ Motion for Summary Judgment, which is opposed by the defendants Based upon
the facts, said motion is well taken and should be granted

IT IS THEREFORE ORDERED that the Plaintit`fs shall have up to and including August

26, 2005, to file their response to the Defendants’ Motion for Summary Judgment. /

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UNIT ED STATES DISTRICT JUDGE

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Honorable J on McCalla
US DISTRICT COURT

